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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                       EASTERN DIVISION AT JACKSON


  CANDELA CORPORATION and
  SYNERON, INC.,

         Plaintiffs,

         V.                                          Case No. ___________________

  INMODE MD, LTD. d/b/a
  INMODE AESTHETIC SOLUTIONS,

         Defendant.


              COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES


       NATURE OF THE ACTION, PARTIES, JURISDICTION, AND VENUE

         1.     On This is an action for injunctive relief and damages due to the actions of

  Defendant InMode MD, Ltd. (“InMode”), a direct competitor of Plaintiffs, for

  interference with Plaintiffs’ employment relationships and employment contracts with its

  now-former employees Erik Dowell (“Dowell”), Adrian Bishop (“Bishop”), Aaron

  Ingold (“Ingold”), Jake Alexander (“Alexander”) and Sammy Tantawy (“Tantawy”);

  inducement of those former employees to breach the non-competition, non-solicitation,

  and/or non-disclosure provisions in their employment contracts with Plaintiffs; and

  tortious interference with Plaintiffs’ business, for the purpose of harming Plaintiffs’

  business and wrongfully obtaining an unfair competitive advantage in the marketplace.

  On March 22, 2017, Plaintiffs filed litigation against Dowell, Bishop and Ingold in

  Massachusetts seeking injunctive relief and damages for the breach of their employment

  agreements, violation of the federal Defend Trade Secrets Act and breach of fiduciary
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  duty. Their employment agreements contain exclusive Massachusetts venue provisions

  and, thus, cannot be joined in this action in this Court.

         2.      Plaintiff Candela Corporation (“Candela) is a Delaware corporation and

  maintains its corporate headquarters and principle place of business in Wayland,

  Massachusetts.

         3.      Plaintiff Syneron, Inc. (“Syneron”) is a Delaware corporation and

  maintains its corporate headquarters and principle place of business in California.

         4.      Candela and Syneron are part of a group of related entities that jointly

  market and sell medical devices and products under the Syneron-Candela brand. For ease

  of reference, Plaintiffs hereafter will be referred to as “Syneron-Candela.”

         5.      InMode is an Israeli entity with a principle place of business at Tabor

  Building, Shaar Yokneam, Yokneam 20692, Israel.

         6.      InMode has a United States office at 192 Technology Unit A&B, Irvine,

  California 92618.

         7.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332 as the

  amount in controversy exceeds the sum or value of $75,000 and the plaintiffs and the

  defendant are citizens of different states.

         8.      InMode’s actions in interfering with Syneron-Candela’s business and its

  employment relationships with its employees in West Tennessee (including in Chester

  County), interference with Syneron-Candela’s employment contracts with its employees

  in Tennessee (including in Chester County), and inducement of Syneron-Candela’s

  former employees in Tennessee (including in Chester County) to breach their




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  employment contracts has caused, and continues to cause, harm to Syneron-Candela in

  Tennessee.

           9.    Personal jurisdiction over InMode and venue, therefore, is proper in this

  Court.

                           SYNERON-CANDELA’S BUSINESS

           10.   Syneron-Candela is a leading global aesthetic device company with a

  comprehensive portfolio and a global distribution footprint. Its technology enables

  physicians to provide advanced solutions for a broad range of medical-aesthetic

  applications using radio frequency and light laser technology, including body contouring,

  cellulite/fat reduction, hair removal, tattoo removal, wrinkle reduction, improving skin

  appearance through the treatment of superficial benign vascular and pigmented lesions,

  and the treatment of acne, leg veins, and cellulite.

           11.   Syneron-Candela markets, services, and supports products in 86 countries

  and has offices in North America, France, Germany, Italy, Portugal, Spain, UK,

  Australia, China, Japan, and Hong Kong and distributors worldwide.

           12.   Syneron-Candela’s products, described above, are graded by the FDA and

  regulated under various state laws as medical devices that can be operated and used only

  by, or under the supervision of, a licensed medical doctor. Accordingly, Syneron-

  Candela’s customers are principally physicians, physician practice groups, and Med Spas

  that employ a physician medical director.

           13.   Syneron-Candela is involved in an extremely competitive industry in

  which confidentiality and customer goodwill are valuable assets.

                                    INMODE’s BUSINESS



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            14.   InMode directly competes with Syneron-Candela.

            15.   InMode manufactures, markets, and sells medical devices that use radio

  frequency and light laser technology for skin treatment and contraction, skin tightening,

  hair removal, skin pigmentation and vascular lesions, cellulite/fat reduction, and body

  contouring.

                           DOWELL’S EMPLOYMENT
                   AND AGREEEMENT WITH SYNERON-CANDELA

            16.   Syneron-Candela employed Dowell in a number of positions, including

  Regional Sales Director, Vice-President of North America, and Vice-President of the

  EMEA Region. In July 2013, Syneron-Candela promoted Dowell to President of the

  Americas (which included North America and South America).

            17.   As President of the Americas, Dowell had knowledge of Syneron-

  Candela’s top performing sales people and their margins, efforts, and skills not generally

  known in the industry or to the public. He was responsible for managing the regional

  directors who in turn managed territory managers. Therefore, he had knowledge of

  Syneron-Candela’s contractual relationships with its sales people and the terms and basis

  of compensation of its sales people not generally known in the industry or to the public.

  Dowell also had the opportunity to cultivate relationships with the regional directors,

  such as Bishop, through frequent communications to collaborate on sales in Bishop’s

  region.

            18.   Furthermore, Dowell attended quarterly business reviews for the

  Aesthetics Division at which Syneron-Candela’s business leaders discussed operational

  and marketing strategies to launch new products, address any service or inventory issues,

  and leverage Syneron-Candela’s products against its competitors. During these business

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  reviews, regional directors nationwide gave presentations regarding their region,

  identifying the top performers on their team or new territory managers in whom they saw

  great potential.

          19.         During the November 2016 quarterly business review, the participants

  went through Syneron-Candela’s organizational chart for the benefit of Syneron-

  Candela’s new president, including identifying how long employees had worked for

  Syneron-Candela and who the top performers were. Higher level managers, which did

  not include regional directors or territory managers, also discussed Syneron-Candela’s

  operational plan for the last quarter of 2016 and for fiscal year 2017. This information

  was particularly confidential and not to be shared or disseminated outside the meeting.

          20.        Nonetheless, upon information and belief, approximately two weeks prior

  to his resignation, Dowell breached his confidentiality obligations and shared Syneron-

  Candela’s operational plans for 2017 with regional directors he supervised. For example,

  one change in Syneron-Candela’s business plan was to merge its three divisions:

  Aesthetics, Body and Profound. As a result, in addition to selling aesthetic products,

  regional directors and territory managers who were previously assigned to the Aesthetic

  Division would now be selling all of Syneron-Candela’s products, including Body and

  Profound.     Upon information and belief, Dowell instructed regional directors he

  supervised that they should not sell body products because it would ruin their careers.

          21.        In connection with his promotion to, and employment as, President of the

  Americas, Dowell executed an Employment Agreement dated July 16, 2013. (Ex. 1 –

  “Dowell Employment Agreement”). In that agreement, Dowell’s obligations ran to the

  “Group,” defined as “[Syneron, Inc.], its parent and any of the parent’s subsidiaries and



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  affiliated entities … including without limitation, Syneron Medical Ltd. and Candela

  Corporation.” (Ex. 1, §1.)

         22.     In that agreement, Dowell agreed:

         following termination of employment with the Company, for any reason,
         [he] will not, directly or indirectly, either for himself … of for any other
         person, firm, company or entity, use of disclose any trade secret or
         Proprietary Information about the Company and/or the Group in order to
         … (2) solicit, induce or influence any employee, contractor or agent of the
         Company and/or the Group to terminate his/her or its employment or
         retention with the Company and/or the Group. (Ex. 1, §5(h).)

         23.     The Dowell Employment Agreement defined, “Proprietary Information”

  as including “the Group’s list of past, existing and potential … employees;” “the

  existence and terms of the Group’s contractual relationships;” “information regarding the

  skills, terms and basis of the compensation of employees … of the Group, “the Group’s

  business     operations…and    business    plans,   including    but   not      limited   to

  marketing…research and product and service development plans” and “the Group’s

  pricing information, pricing methods and financial information,” (Ex. 1, §5(b).)

         24.     Importantly, “Proprietary Information is of critical importance to the

  Company and a violation of any provision of this Section would seriously and irreparably

  injure and damage the Company’s business.” (Ex. 1, §5(e).)

         25.     Dowell further agreed that violation of the above non-solicitation

  provision would result in irreparable injury to Syneron-Candela. (Ex. 1, §8.)

         26.     The restrictions set forth in Dowell’s Employment Agreement were “fair

  and reasonably required for the protection of the interests of the Company and the

  Group.” (Ex. 1, §5(i).)

                           BISHOP’S EMPLOYMENT
                   AND AGREEMENT WITH SYNERON-CANDELA

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         27.    Bishop accepted employment with Syneron-Candela as a Territory Sales

  Manager on October 23, 2013. (Ex. 2 – Bishop Offer Letter.) As an employee of

  Syneron-Candela, Bishop worked out of his home office in Arlington, Tennessee, and his

  territory included parts of Tennessee and Alabama.

         28.    Notwithstanding Bishop’s “assigned” territory, Med Spa customers on

  whom he called and to whom he provided products and services on behalf of Syneron-

  Candela were “national” customers of Bishop, wherever located.

         29.    As a Territory Sales Manager, Bishop had direct contact with Syneron-

  Candela’s customers and potential customers and developed personal relationships with

  those customers on the basis of Syneron-Candela’s goodwill and reputation, such that he

  was the face of Syneron-Candela to those customers. Bishop also acquired knowledge of

  Syneron-Candela’s confidential and proprietary information, including pricing, quotes,

  proposals, and discounts to those customers, as well as those customers’ purchasing

  habits, needs, and requirements. Many customers chose to lease Syneron-Candela’s

  devices. Therefore, some of the most important information Bishop acquired about

  Syneron-Candela’s customers is the name and contact information of the customer, the

  type of device(s) the customer uses, and when the lease(s) expire on those devices. With

  that information, Bishop, and any competitor with whom he may become employed, has

  a short-cut for business development. When the lease expiration date approaches, Bishop

  can call the customer and remind them that it is time to get a new device or upgrade to a

  more advanced device. This specific information is not public knowledge or commonly

  known within the industry.




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         30.     Many of Syneron-Candela’s customers are repeat customers. Regional

  directors and Territory Sales Managers cultivate their customer relationships so the

  customer will continue to purchase Syneron-Candela products as new models are

  introduced or add additional products to their offices. Customers can also purchase new

  equipment before their lease expires and roll their financing from their current equipment

  into financing for the new equipment. Syneron-Candela’s customers are also valuable

  referrals or influencers to encourage other physicians and Med Spas in their areas to

  purchase Syneron-Candela products.

         31.     On November 5, 2013, in connection with his initial employment by

  Syneron-Candela, Bishop signed an Assignment of Developments, Non-Disclosure, Non-

  Competition, and Non-Solicitation Agreement. (Ex. 3 - “Bishop’s Employment

  Agreement”.)

         32.     To protect Syneron-Candela’s legitimate business interests, Bishop agreed

  that several restrictive covenants would govern his conduct and post-employment

  conduct.

         33.     Bishop agreed that:

         while in the employ of the Company and for one [1] year thereafter (the
         “Restriction Term”), regardless of the reasons for [his] termination, …
         [he] will not directly or indirectly … (a) accept employment with a
         company that competes with the Company in the cosmetic and aesthetic
         /medical laser and light based system market, or engage in competitive
         activities related thereto.
                 ***
         Competition / competitive” includes “performing any duties substantially
         similar or the same to those which I performed for the Company for
         myself or for any person or business which competes with the Company’s
         business, which is described as developing, manufacturing, selling, and
         servicing of aesthetic/cosmetic and medical based laser and light based
         systems. (Ex. 3, Article V.)



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         34.     Bishop agreed that:

         during the Restriction Term, regardless of the reasons for [his] termination
         from employment, … [he] will not directly or indirectly … solicit, provide
         services or products to, or attempt to solicit or provide services or products
         to, the customers and potential customers of the Company with whom [he]
         had contact during the course of [his] employment or about whom [he]
         obtained confidential information during the course of [his] employment
         with the Company. (Ex. 3, Article VI.)

         35.     Bishop agreed that:

         during the Restriction Term, regardless of the reasons for [his]
         termination, … [he] will not directly or indirectly, alone or as a consultant,
         partner, officer, director, employee, joint venture, lender or stockholder of
         any entity, recruit, solicit for hire, hire or knowingly and with my
         involvement permit any company or business organization in which [he is]
         employed or which is directly or indirectly controlled by [him] to recruit,
         solicit for hire or hire any Company employee, agent, representative, or
         consultant, or any such person who has terminated his/her relationship
         with the Company within six months of [Bishop’s] departure from the
         Company. (Ex. 3, Article VII.)

         36.     Bishop agreed that Syneron-Candela’s Confidential Information includes:

         trade secrets, proprietary or confidential information respecting existing
         and future products and services, designs, methods, formulas, drafts or
         publications, research, know-how, techniques, systems, databases,
         processes, software programs or code, developments or experimental
         work, works of authorship, customer lists and/or customer information,
         business plans, marketing plans, financial information, sales techniques,
         projects, the Company’s salary and/or pay rates, other Company personnel
         information, and all other plans and proposals. (Ex. 3, §1.2.)

         37.     Syneron-Candela’s competitive position in the line of business in which it

  is engaged depends in part upon its ability to safeguard Confidential Information and

  goodwill that it has developed with its customers (Ex. 3, Recital D), it would not have

  provided Bishop with, or given him access to, its Confidential Information without his

  agreement to these restrictions (Id., Recitals C, E-F; Article V), and violation of Bishop’s




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   non-competition provisions would lead to the inevitable disclosure of Syneron-Candela’s

   valuable and sensitive Confidential Information. (Id.)

          38.     Bishop further agreed, whether during or after his employment:

          not to “divulge or disclose to any person or entity outside of the Company,
          whether by private communications or by public address or publication, or
          otherwise, any Confidential Information, except to the extent that such
          disclosure is necessary to perform [his] duties and responsibilities as an
          employee of the Company” …..and to “keep confidential all matters
          entrusted to [him] and … not use or attempt to use any Confidential
          Information, including confidential information related to third parties
          which the Company is obligated to maintain as confidential, … nor… use
          any Confidential Information in any manner which may injure or cause
          loss or may be calculated to injure or cause loss to the Company, whether
          directly or indirectly. (Ex. 3, §§ 4.1, 4.2).

          39.     Bishop further agreed that all property of the company remained company

   property, after the separation of his employment he would not allow others to use

   company property, and immediately upon separation of employment he would deliver all

   company property to Syneron-Candela. (Ex. 3, §8.1.)

          40.     Finally, Bishop agreed that his breach of his agreement would cause

   irreparable harm to Syneron-Candela. (Ex. 3, §11.6.)

          41.     Effective January 6, 2014, Syneron-Candela promoted Bishop to South

   East Region Sales Director, Aesthetics Division.         In this position, Bishop directly

   supervised 8-10 Territory Sales Managers in Tennessee, Mississippi, Arkansas, Georgia,

   Kentucky, Alabama, Oklahoma, Florida, North Carolina, South Carolina, and Louisiana.

   He also had ultimate responsibility for the performance of the field associates who

   directly reported to Territory Managers in the region. While Bishop had new

   responsibilities in this position, many of his prior job duties carried over to his new role.




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   This promotion constituted additional consideration for the covenants set forth in

   Bishop’s Employment Agreement.

          42.     As a Region Sales Director, Bishop had knowledge and access to the same

   types of Confidential Information, except now he had knowledge and access to

   Confidential Information regarding more customers, over a larger territory, and with

   respect to more subordinate employees.

          43.     For example, like Dowell, Bishop attended the quarterly business reviews

   for the Aesthetics Division which discussed operational and marketing strategies to

   launch new products, address any service or inventory issues, and leverage Syneron-

   Candela’s products against its competitors. If Syneron-Candela was planning a new

   product launch, the regional directors received a preview from a research and

   development employee, including product specifications, as well as information from a

   marketing employee regarding Syneron-Candela’s pricing and strategy behind the launch.

          44.     Bishop was also one of the regional directors who gave presentations at

   the quarterly business reviews regarding his region, identifying the top performers on his

   team or new territory managers in whom he saw great potential. Bishop also attended the

   presentations by the other regional managers in the Aesthetics Division who provided this

   confidential information for their respective regions. Each regional director also

   presented on the sales for the past quarter and the average selling price in that region.

          45.     In addition to the quarterly division meetings, Bishop participated in

   monthly aesthetic group meetings which provided more in depth information, including

   sales for the month, their pipeline, and challenges they were facing.




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          46.     The Territory Sales Managers Bishop supervised provided him

   information and access to Confidential Information about Syneron-Candela’s customers

   in weekly and monthly reports, one-on-one meetings, and group calls and meetings.

   Additionally, the Territory Sales Managers constantly reported in to Bishop on sales calls

   and events and the status of prospective and pending sales.

          47.     Indeed, direct customer interaction continued to be an important part of

   Bishop’s job duties for Syneron-Candela. Regional directors are expected to continue

   interacting with customers in person or via telephone or email.          For example, to

   maximize sales in their regions, regional directors go on “ride-alongs” with their

   Territory Sales Managers, calling on customers, assisting with any customer complaints

   and helping pitch the customers new products.           Additionally, to help promote its

   products, Syneron-Candela held workshops for its prospective and current customers

   throughout the year. Both Territory Sales Managers and regional directors closed deals

   with customers at these workshops. In the fall of 2016, Bishop closed multiple deals with

   customers at a workshop in Beverly Hills, California.

          48.     Additionally, as a Region Sales Director, Bishop had access to Syneron-

   Candela’s Confidential Information about its business and customers across his region

   through access to the company’s centralized password protected computer database

   SalesForce. In SalesForce, Bishop could see what sales had closed in his region, what

   was in the pipeline, what equipment a customer had, and any customer issues. Bishop

   also had access to Syneron-Candela’s commission software, Exactly, which showed what

   each Territory Sales Manager was paid, for which deals they received commissions, and

   their commission rates.



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          49.     As South East Region Sales Director, Bishop supervised, among others,

   Territory Sales Manager Ingold, who worked for Syneron-Candela, in Henderson,

   Tennessee, and whose territory covered Memphis, Tennessee, Arkansas, Mississippi, and

   Oklahoma, and Field Sales Lead Generator Alexander, who covered the same territory.

          50.     Bishop was one of Syneron-Candela’s top performing sales people. He

   was awarded Region of the Year, Sales Director of the Year, and President’s Club for

   2016. He also received several sales awards the prior year. His region “team,” which

   included Ingram and Alexander, was the company’s highest producing team in the

   country.

          51.     In January 2017, Bishop attended the company’s national sales meeting, at

   which the company trained all sales staff on the company’s complete line of products and

   discussed its business plans and strategies for the coming year.

          52.     During a one-on-one meeting with Jeff Nardoci (“Nardoci”), Syneron-

   Candela’s Chief Commercial Officer, Nardoci discussed with Bishop the competitors and

   issues in his region and what Syneron-Candela had lined up to address those issues. This

   highly confidential information was not shared with sales employees below the Regional

   Director level. Nardoci also shared with Bishop the entire product pipeline and Syneron-

   Candela’s business and marketing strategy for the next year.

                           INGOLD’S EMPLOYMENT
                    AND AGREEMENT WITH SYNERON-CANDELA

          53.     Syneron-Candela employed Ingold as a Territory Sales Manager on or

   about February 18, 2013. Ingold worked for Syneron-Candela from his home office in

   Henderson, Chester County, Tennessee.




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             54.   Ingold’s territory included Tennessee, Mississippi, Arkansas, Kansas, and

   Oklahoma. As a Territory Sales Manager, Ingold had access to Syneron-Candela’s

   Confidential Information, as set forth above.

             55.   To protect its legitimate business interests, as set out above, Syneron-

   Candela required Ingold to sign an employment agreement containing the same

   provisions as Bishop’s Employment Agreement. (Ex. 4 – “Ingold’s Employment

   Agreement”.)

             56.   Effective January 1, 2016, Syneron-Candela promoted Ingold to Sr.

   Territory Sales Manager. While this “promotion” resulted in a new title and greater

   compensation, Ingold’s job duties remained essentially the same.

             57.   In September 2016, Syneron-Candela hired Alexander as a Field Sales

   Lead Generator to work under Ingold. Alexander signed an employment Agreement with

   post-employment non-competition, non-solicitation and non-disclosure provisions. (Ex.

   5 - “Alexander Employment Agreement”.) Through Alexander’s research and field calls

   on customers and potential customers, Alexander would identify customers and potential

   customers with an interest in Syneron-Candela’s products and give that information to

   Ingold.     Ingold, therefore, could spend his time calling primarily on customers and

   potential customers who were more likely to purchase Syneron-Candela’s products.

             58.   As a Territory Sales Manager, Ingold had direct contact with Syneron-

   Candela’s customers and potential customers and developed personal relationships with

   those customers on the basis of Candela’s goodwill and reputation, such that he was the

   face of Syneron-Candela to those customers.




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                          TANTAWY’S EMPLOYMENT
                   AND AGREEMENT WITH SYNERON-CANDELA

          59.    Syneron-Candela employed Tantawy as a Senior Territory Manager on or

   about February 12, 2015.

          60.    Tantawy’s territory included California, the Pacific Northwest, the Rocky

   Mountain states, the Southwest, and Western Canada.        As a Territory Sales Manager,

   Tantawy had access to Syneron-Candela’s Confidential Information, as set forth above.

          61.    To protect its legitimate business interests, as set out above, Syneron-

   Candela required Tantawy to sign an employment agreement containing the same

   provisions as Bishop’s and Ingold’s Employment Agreements. (Ex. 6 – “Tantawy’s

   Employment Agreement”.)

          62.    As a Territory Sales Manager, Tantawy had direct contact with Syneron-

   Candela’s customers and potential customers and developed personal relationships with

   those customers on the basis of Candela’s goodwill and reputation, such that he was the

   face of Syneron-Candela to those customers.

           INMODE’s RAIDING OF SYNERON-CANDELA’S EMPLOYEES

                                           Dowell

          63.    In 2016, InMode’s Global CEO Moshe Mizrahy (“Mizrahy”) determined

   that despite its “progress in North America during the last few years … [InMode] …

   [had] reached a point where we need to make management and organizational changes”

   and that its “current management in North America ha[d] reached its managerial limit.”

   (Ex. 7 at 1-2 – 10/7/2016 Email from Mizrahy to Dowell.)

          64.    Mizrahy was the former CEO of Syneron.




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          65.     Sometime before September 26, 2016, InMode began recruiting Dowell to

   leave Syneron-Candela to become InMode’s new CEO of the Americas.

          66.     Sometime on or around October 1, 2016, Mizrahy met with Dowell in

   New York to discuss employment of Dowell by InMode. (Id. at 2.) Prior to the meeting,

   Mizrahy presented InMode’s business plan to Dowell, which included strengthening

   InMode’s sales network in North America. The business plan also identified Syneron-

   Candela as one of two of InMode’s major competitors in the medical aesthetic market in

   North America. Finally, the business plan included a proposal to Dowell for a position as

   President of InMode Americas with full responsibility for marketing, sales and service in

   North America and South America.

          67.     On October 7, 2016, InMode officially offered Dowell the position of

   CEO of the Americas to include a salary, annual bonuses, and an equity position in the

   company. In that position, Dowell would report to Mizrahy and the Board of Directors

   and would be the second-in-command at the company. (Id at 2.)

          68.     Thereafter, following a telephone call with Dowell, Mizrahy, on behalf of

   InMode, instructed Dowell on October 14, 2016: “Regarding Management and Team –

   you will have full authority to replace and change any position holder that you would like

   to replace.” (Id. at 1 – 10/14/2016 Email from Mizrahy to Dowell.)

          69.     In Mode was extremely anxious to make those personnel changes. (Id.)

          70.     As evidenced by InMode’s agreement “to give you full indemnification to

   cover and represent you in the event that any legal action is taken against you,” (Id.)

   InMode employed Dowell with knowledge of his contractual obligations, including his

   confidentiality and non-solicitation obligations, and with the understanding that, in



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   performing his duties for InMode and making the desired personnel changes, Dowell

   might violate his employment agreement with Syneron-Candela, including Dowell’s

   post-termination confidentiality and non-solicitation obligations.

          71.     In his positions with Syneron-Candela, Dowell knew that Syneron-

   Candela entered into employment agreements with its employees, including Bishop,

   Ingold, Alexander, and Tantawy and knew the terms of those agreements.

          72.     Upon information and belief, Dowell thereafter began directly and

   indirectly soliciting Syneron-Candela’s employees, on behalf of InMode, to leave

   Syneron-Candela and become employed with InMode.

          73.     On January 13, 2017, Dowell voluntarily resigned his employment from

   Syneron-Candela.

          74.     On January 25, 2017, InMode issued a press release that it had hired

   Dowell as its Chief Executive Officer of the Americas. (Ex. 8 – 1/2/5/2017 Press Release

   - “InMode/Invasix Names New CEO for North & South America.”)

          75.     InMode has acknowledged, though its attorneys, that Dowell continues to

   retain Syneron-Candela’s information on his laptop computer, but has refused to identify

   that information or documents containing Syneron-Candela’s information or delete

   and/or return that information to Syneron-Candela.

          76.     Upon information and reasonable belief, Syneron-Candela believes that

   Dowell has used and disclosed, and continues to use and disclose, Syneron-Candela’s

   Confidential Information on behalf of InMode and for InMode’s benefit.




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                                             Bishop

           77.    On January 14, 2017, the day immediately after Dowell’s resignation,

   Bishop told Joel Schwartz, Syneron-Candela’s HR Director for North America, during

   the company’s national sales meeting that he (Bishop) had an offer from another

   company and was attending the meeting only for the purpose of deciding if he wanted to

   stay.

           78.    The following day, January 15, 2017, Bishop made the same or similar

   statements to the company’s CEO for North America.

           79.    Thereafter, Bishop refused to participate in further events or to accept or

   be recognized for his awards at the national sales meeting. Bishop walked out and

   returned to Tennessee before the national sales meeting concluded.

           80.    In light of his prior statements, Syneron-Candela understood and

   considered Bishop’s conduct to constitute his resignation.

           81.    Under Syneron-Candela’s commission plan, upon termination of

   employment, employees are eligible for commissions on closed deals that have been

   shipped and received by the customer and revenues collected. Employees can receive

   commissions for any deals made prior to their separation date if the revenue is collected

   within thirty days of their separation.

           82.    Syneron-Candela agreed to make Bishop’s last day of employment

   February 10, 2017, to extend the time for him to receive commissions on deals that had

   closed but had not yet been shipped or received by the customer and revenue collected.

   During this time, from January 15 through February 10, 2017, Bishop also continued

   receiving a salary from Syneron-Candela.



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           83.        While still in Syneron-Candela’s employ, Bishop began assisting InMode,

   his soon-to-be employer and a direct competitor, with their internal compensation and

   training issues.

           84.        For example, on January 31, 2017, Dowell, as CEO of Americas for

   InMode, sent an email to Yang Phan at InMode, Bishop, and others to “introduce” Phan

   to “the dream team” for the purpose of providing Bishop, while he was still employed

   with Syneron-Candela, and others sales materials and presentations on InMode’s

   products and technologies. Dowell sent this email to Bishop at his Candela email address.

   (Ex. 9 – 1/31/2017 email from Dowell to Phan, Lakhani, Bishop, and Lembke.)

           85.        As another example, on February 3, 2017, Dowell copied Bishop on an

   email, while Bishop was still employed with Syneron-Candela, informing Bishop and

   others that Mizrahy had approved salary increases for certain InMode employees.

   Dowell sent this email to Bishop at his Candela email address. (See Ex. 10 – 2/3/2017

   Email from Dowell to Mitchell, Bishop and Lakhani.)

           86.        Based upon the above, Syneron-Candela believes that Dowell, on behalf

   of InMode, solicited and induced Bishop to become employed with InMode and that

   Bishop was working for InMode, a direct competitor, while still employed by Syneron-

   Candela, and used Syneron-Candela’s resources to do so.

           87.        Bishop’s last day of employment with Syneron-Candela was February 10,

   2017.

           88.        On February 14, 2017, InMode issued a press release that it had appointed

   Bishop as its Vice President of Sales for the East Region. (Ex. 11 – 2/14//2017 Press

   Release-“InMode Aesthetics Strengthens Sales Force in North America”.)



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          89.     As Vice-President of Sales for the East Region, Bishop’s InMode territory

   covers substantially the same potential customer base and includes many of the same

   customers as his former Syneron-Candela region.

          90.     This situation, as Bishop acknowledged in his Employment Agreement,

   will lead to the inevitable use and disclosure of Syneron-Candela’s Confidential

   Information, and likely already has.

          91.     Knowledge of Syneron-Candela’s Confidential Information about

   Syneron-Candela’s national business and marketing strategies and its customers in his

   region for InMode places Bishop at an unfair competitive advantage against Syneron-

   Candela. Through the customer relationships he developed through Syneron-Candela’s

   reputation and goodwill during his employment, and knowledge of customers’ lease

   expiration dates, purchase history, pricing, any complaints or issues and other

   Confidential Information, Bishop will be able call upon, service, and sell to those

   customers without having to put in the time, effort, research, and work otherwise required

   to develop those customers and acquire their business – in effect giving him unfair leg up

   in competing against Syneron-Candela.

          92.     Syneron-Candela issued Bishop a laptop computer to use in his

   employment. That laptop computer has remained, at all times, the property of Syneron-

   Candela. That laptop computer contains Syneron-Candela’s proprietary and Confidential

   Information. Upon his separation from employment, Bishop failed and refused to return

   that laptop computer to Syneron-Candela.




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          93.    InMode has acknowledged, though its attorneys, that Bishop continues to

   retain Syneron-Candela’s laptop computer and the proprietary and Confidential

   Information contained thereon, but has refused to return Syneron-Candela’s property.

          94.    Upon information and reasonable belief, Syneron-Candela believes that

   Bishop has used and disclosed, and may be continuing to use and disclose, Syneron-

   Candela’s Confidential Information in his employment with and for the benefit of

   InMode.

          95.    In his positions with Syneron-Candela, Bishop knew that Syneron-

   Candela entered into employment agreements with its employees, including Ingold,

   Alexander, and Tantawy and knew the terms of those agreements.

                                   Ingold and Alexander

          96.    On February 17, 2017, just over one month after Dowell resigned and less

   than one week after Bishop’s last day, Ingold voluntarily resigned his employment with

   Syneron-Candela.

          97.    On February 10, 2017, approximately one month after Dowell’s

   resignation and on Bishop’s last day, Alexander, who directly assisted Ingold’s sales

   efforts, voluntarily resigned his employment with Syneron-Candela.

          98.    Shortly after their resignations, Ingold and Alexander became employed

   with InMode in positions similar to those they held with Syneron-Candela.

          99.    The information Ingold and Alexander had access to and acquired upon

   their access to Syneron-Candela’s Confidential Information and customer contact as the

   result of their employment with Syneron-Candela, allows them an unfair competitive

   advantage with Syneron-Candela, as they can call upon or direct others to call upon



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   physicians and other businesses whom they know are already interested in purchasing

   products offered in the industry without having to put in the effort and research otherwise

   required to obtain this information. Further, knowledge of Syneron-Candela’s customers,

   such as their pricing history, service history and the lease expiration dates on their

   Syneron-Candela devices gives them an unfair competitive advantage in the market, as

   set forth above.

          100.    Based upon this information, Candela believes, and it is reasonable to

   believe, that Dowell and/or Bishop, acting on behalf of InMode, solicited Ingold and

   Alexander to leave Syneron-Candela and become employed with InMode, to harm and

   disrupt Syneron-Candela’s business, and continue to solicit other current employees of

   Candela.

                                           Tantawy

          101.    On March 24, 2017, Tantawy resigned from Syneron-Candela.

          102.    On March 24, 2017, counsel for Candela sent correspondence to Moshe

   Mizrahy, CEO of InMode, notifying InMode of the Massachusetts litigation to enforce

   Candela’s employment agreements. (Ex. 12 – “Cease and Desist Letter to InMode”). In

   the correspondence, Candela’s counsel also informed InMode that Dowell and Bishop

   had retained Candela’s proprietary information and breached their fiduciary duties to

   Candela. Finally, Candela expressed its concern that InMode was continuing to solicit its

   employees to work at InMode and put InMode on notice that all of its marketing and

   sales employees, like Tantawy, had employment agreements with Candela prohibiting

   them from performing substantially the same job duties that they performed on behalf of

   Candela for InMode.



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          103.    Shortly after his resignation, Tantawy became employed with InMode in a

   position similar to the one he held at Syneron-Candela.

          104.    The information Tantawy had access to and acquired upon his access to

   Syneron-Candela’s Confidential Information and customer contact during and as the

   result of his employment with Syneron-Candela, allows him an unfair competitive

   advantage with Syneron-Candela. Further, knowledge of Syneron-Candela’s customers,

   such as their pricing history, service history and the lease expiration dates on their

   Syneron-Candela devices gives him an unfair competitive advantage in the market, as set

   forth above.

          105.    Based upon this information, Syneron-Candela believes, and it is

   reasonable to believe, Dowell and/or Bishop, acting on behalf of InMode, solicited

   Tantawy to leave Syneron-Candela and become employed with InMode, a direct

   competitor, to harm and disrupt Syneron-Candela’s business; and continues to solicit

   other current employees of Syneron-Candela.

                  COUNT I – INDUCEMENT TO BREACH CONTRACT

          106.    InMode was aware of Dowell’s employment agreement and contractual

   obligations to Syneron-Candela.

          107.    InMode, through Dowell, was aware of Bishop’s employment agreement

   and contractual obligations to Syneron-Candela.

          108.    InMode, through Dowell and/or Bishop, was aware of Ingold’s,

   Alexander’s, and Tantawy’s employment agreements with and contractual obligations to

   Syneron-Candela.




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          109.    Dowell’s, Bishop’s, Ingold’s, Alexander’s, and Tantawy’s actions

   described above violated and continue to violate one or more provisions of their

   employment agreements with Syneron-Candela, including the non-competition, non-

   disclosure, and/or non-solicitation provisions in their respective employment agreements.

          110.    InMode, wrongfully and without justification, induced Dowell, Bishop,

   Ingold, Alexander, and Tantawy to breach the non-solicitation, non-competition, and/or

   confidentiality provisions of their employment agreements with Syneron-Candela.

          111.    InMode, wrongfully and without justification, induced Dowell and Bishop

   to breach their contractual obligations to return Syneron-Candela’s property upon the

   separation of their employments with Syneron-Candela.

          112.    InMode continues to employ Bishop, Ingold, Alexander, and Tantawy

   with knowledge that their employment with InMode violates the terms of their

   employment agreements with Syneron-Candela.

          113.    InMode’s actions have damaged Syneron-Candela and its goodwill and

   caused, and continue to cause, harm to Syneron-Candela for which an adequate remedy at

   law does not exist.

       COUNT II – INTERFERENCE WITH EMPLOYMENT RELATIONSHIPS

          114.    InMode was aware of Syneron-Candela’s employment relationships with

   Bishop, Ingold, Alexander, and Tantawy.

          115.    InMode, wrongfully and without justification, interfered with Syneron-

   Candela’s employment relationships with Bishop, Ingold, Alexander, and Tantawy.




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          116.    InMode’s actions have damaged Syneron-Candela and its goodwill and

   caused, and continue to cause, harm to Syneron-Candela for which an adequate remedy at

   law does not exist.

              COUNT III - TORTIOUS INTERFERENCE WITH BUSINESS

          117.    InMode was aware of Bishop’s employment and position with Syneron-

   Candela.

          118.    Bishop owed Syneron-Candela a duty of loyalty during his employment

   with Syneron-Candela to act only for its benefit and not to its detriment.

          119.    Bishop’s actions described above in working for and/or assisting a direct

   competitor during his employment with Syneron-Candela breached his duty of loyalty.

          120.    InMode induced Bishop to breach his duty of loyalty and, therefore,

   tortiously interfered with Syneron-Candela’s business.

          121.    InMode’s actions described above in inducing Dowell, Bishop, Ingold,

   Alexander, and Tantawy to breach their respective employment agreements, without

   justification, tortiously interfered with Syneron-Candela’s business.

          122.    InMode’s actions have damaged Syneron-Candela and its goodwill and

   caused, and continue to cause, harm to Syneron-Candela for which an adequate remedy at

   law does not exist.

   COUNT IV - VIOLATION OF TENNESSEE UNIFORM TRADE SECRETS ACT

          123.    The customer, sales, pricing, marketing, business plans, and financial data

   of Syneron-Candela described above, and the compilation of that information (“Trade

   Secrets”), is not generally known to and not readily ascertainable by proper means by

   other persons who can obtain economic value from its disclosure and use.



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          124.    Syneron-Candela derives independent economic value from its Trade

   Secrets not being generally known to or readily ascertainable by others.

          125.    Being in     an   extremely competitive industry,       Syneron-Candela’s

   competitors, including InMode, can derive economic value from the disclosure and use of

   Syneron-Candela’s Trade Secrets.

          126.    Syneron-Candela’s Trade Secrets are the subject of efforts that are

   reasonable under the circumstances to maintain its secrecy.

          127.    Syneron-Candela’s Trade Secrets constitutes trade secrets under the

   Tennessee Uniform Trade Secrets Act, Tenn. Code Ann. § 47-25-1701, et seq.

   (“TUTSA”).

          128.    InMode, through the actions and continued actions of Bishop – its Vice-

   President – misappropriated Syneron-Candela’s Trade Secrets within the meaning of

   Tenn. Code Ann. § 47-25-1702(3), which defines “misappropriation” as:

          (A) Acquisition of a trade secret of another by a person who knows or has
          reason to know that the trade secret was acquired by improper means; or

          (B) Disclosure or use of a trade secret of another without express or
          implied consent by a person who:

                 (i) Used improper means to acquire knowledge of the trade secret; or

                (ii) At the time of disclosure or use, knew or had reason to know that
          that person's knowledge of the trade secret was:

                 (a) Derived from or through a person who had utilized improper
          means to acquire it;

                  (b) Acquired under circumstances giving rise to a duty to maintain
          its secrecy or limit its use; or

                 (c) Derived from or through a person who owed a duty to the
          person seeking relief to maintain its secrecy or limit its use; or



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               (iii) Before a material change of the person's position, knew or had
          reason to know that it was a trade secret and that knowledge of it had been
          acquired by accident or mistake.

          129.   InMode, through the actions and continued actions of Bishop – its Vice-

   President – acquired, misappropriated, and continues to possess Syneron-Candela’s Trade

   Secrets through improper means within the meaning of Tenn. Coe Ann. § 47-25-1702(2),

   which defines “improper means” to “include[] theft, bribery, misrepresentation, breach or

   inducement of a breach of a duty to maintain secrecy or limit use, or espionage through

   electronic or other means.” Tenn. Code Ann. § 47-25-1702(1).

          130.   InMode’s possession of and refusal to return, as well as its use and/or

   threatened use, disclosure, and misappropriation of Syneron-Candela’s Trade Secrets has

   caused, and continues to cause, harm to Syneron-Candela for which injunctive relief may

   be issued under TUTSA, Tenn. Code Ann. § 47-25-1703.

          131.   Syneron-Candela has also incurred actual damages as the result of

   InMode’s possession of and refusal to return, as well as its use and/or threatened use,

   disclosure, and misappropriation of Syneron-Candela’s Trade Secrets.

          132.   InMode’s possession of and refusal to return, as well as its use and/or

   threatened use, disclosure, and misappropriation of Syneron-Candela’s Trade Secrets was

   and has been willful and malicious, entitling Syneron-Candela to an award of exemplary

   damages, pursuant to TUTSA, Tenn. Code Ann. § 47-25-1704(b), in an amount not

   exceeding twice its actual damages, and reasonable attorney’s fees pursuant to Tenn.

   Code Ann. § 47-25-1705(3).




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                                     PRAYER FOR RELIEF

           Wherefore, Syneron-Candela prays that this Court:

           1. enter a Preliminary Injunction and a Permanent Injunction enjoining InMode

   from using, disclosing, and refusing to return Syneron-Candela’s proprietary and

   Confidential Information;

           2. enter a Preliminary Injunction and a Permanent Injunction enjoining InMode

   from using and refusing to return Syneron-Candela’s property;

           3. enter a Preliminary Injunction and a Permanent Injunction enjoining InMode

   from employing Bishop, Ingold, Alexander, and Tantawy until the expiration of the non-

   competition provisions in their employment agreements with Syneron-Candela;

           4. enter a Preliminary Injunction and a Permanent Injunction enjoining from

   inducing current and former Syneron-Candela employees from violating the their

   employment agreements with Syneron-Candela;

           5. enter Preliminary Injunction and a Permanent Injunction enjoining InMode

   from interfering with Syneron-Candela’s employment contracts and relationships with its

   employees;

           6. enter Preliminary Injunction and a Permanent Injunction enjoining InMode

   from interfering with Syneron-Candela’s business;

           7. awarding Syneron-Candela its actual and punitive damages, costs, and such

   further relief to which it is entitled, whether at law or inequity;

           8.      awarding Syneron-Candela exemplary damages under TUTSA, Tenn.

   Code Ann. § 47-25-1704(b); and




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         9.     awarding Syneron-Candela its reasonable attorney’s fees pursuant to

   Tenn. Code Ann. § 47-25-1705(3).



                                          Respectfully submitted,



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